 1   Daniel P. Struck, #012377
     Nicholas D. Acedo, #021644
 2   Ashlee B. Hesman, #028874
     STRUCK LOVE BOJANOWSKI & ACEDO, PLC
 3   3100 West Ray Road, Suite 300
     Chandler, Arizona 85226
 4   (480) 420-1600
     dstruck@strucklove.com
 5   nacedo@strucklove.com
     ahesman@strucklove.com
 6
     Attorneys for Defendant City of Eloy
 7
 8                       IN THE UNITED STATES DISTRICT COURT

 9                            FOR THE DISTRICT OF ARIZONA

10   Yazmin Juárez Coyoy,                           No. CV-19-01391-PHX-JJT (JFM)
11                       Plaintiff,                   DEFENDANT’S REPLY IN SUPPORT
12   v.                                                   OF MOTION TO DISMISS

13   City of Eloy,
14                       Defendant.
15
16          Immigration enforcement, and particularly the detention of immigrants, is a
17   polarizing issue in this Country. But the political debate should not—and cannot—
18   influence the legal question in this case: whether the City of Eloy owed a special duty of
19   care to M.J. under Arizona’s duty framework. 1
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21          1
               It is apparent from the Opposition that the gravamen of Plaintiff’s Complaint is
22   Eloy’s decision to enter into the IGSA with ICE. (See, e.g., Dkt. 14 at 2 [criticizing as
     “unseemly” Eloy receiving a “hefty annual fee” and “did essentially … nothing”]; id. at 2-
23   4 [criticizing Eloy for entering into a “highly irregular contract” with ICE (a “scheme”),
     “choreographed” to “bypass” the federal procurement process].) She wisely does not
24   ground her negligence claim in that decision, as Eloy is absolutely immune not only for its
     decisions to enter into the IGSA, the Modified IGSA, the Agreement, and the Amended
25   Agreement, but for any alleged liability that inexorably flows from those decisions. See
     A.R.S. §§ 12-820.01(A)-(B) (affording public entities legislative and administrative
26   immunity for exercising legislative and administrative functions, including the
     determination of fundamental governmental policy); see also Myers v. City of Tempe, 128
27   P.3d 751, 753-54, ¶¶ 10-13 (Ariz. 2006) (holding that the City of Tempe was immune for
     entering into an aid agreement with other municipalities, as well as from liability allegedly
28   stemming from negligence by the participating municipality that caused the injury).
 1          On that question, Plaintiff attempts to replace her “common sense” argument with
 2   two Restatement Sections: Restatement (Second) of Torts § 314A (duty to those in one’s
 3   physical custody) and § 324A (undertaking a duty to render services). But even a cursory
 4   look at those Restatement Sections refute their application. Neither Plaintiff nor M.J.
 5   were in Eloy’s custody, nor did Eloy agree to provide them with any services. Plaintiff
 6   does not cite a single case that has stretched these Restatement Sections to impose a duty
 7   in circumstances even remotely close to those alleged in the Complaint. Instead, she is
 8   asking this Court to create a duty out of whole cloth. It should not.
 9          In interpreting state law, “the views of the state’s highest court … are binding on
10   the federal courts.” Wainwright v. Goode, 464 U.S. 78, 84 (1983). This Court “must
11   interpret state law as it believes the Arizona Supreme Court would.” Jes Solar Co., Ltd. v.
12   Matinee Entergy, Inc., CV 12-626 TUC DCB, 2015 WL 10943562, at *4 (D. Ariz.
13   Nov. 2, 2015) (citing Dias v. Elique, 436 F.3d 1125, 1129 (9th Cir. 2006)). The Arizona
14   Supreme Court has provided very recent guidance on how to determine whether a duty
15   exists in Arizona. See Quiroz v. Alcoa Inc., 416 P.3d 824, 829 (Ariz. 2018). That
16   framework is consistent with a trend of recent Arizona cases that have restricted the
17   creation of new duties against public entities, 2 and federal district court cases that have
18   refused to find a duty where one did not already exist under Arizona law. 3 Applying that
19   framework here, neither § 314A nor §324A imposed a duty on Eloy simply because it
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              See, e.g., Guerra v. State, 348 P.3d 423, 425-28, ¶¶ 9-27 (Ariz. 2015); Burns v.
22   City of Tucson, 432 P.3d 953, 957, ¶ 15 (Ariz. App. 2018); Stair v. Maricopa Cty, 429
     P.3d 1151, 1156-60, ¶¶ 19-34 (Ariz. App. 2018); Hogue v. City of Phoenix, 378 P.3d 720,
23   724-25, ¶¶ 13-18 (Ariz. App. 2016); Acri v. State, 394 P.3d 660, 663-66, ¶¶ 8-22 (Ariz.
     App. 2017); Lorenz v. State, 364 P.3d 475, 477-78 ¶¶ 12-20 (Ariz. App. 2015); Boisson v.
24   Arizona Bd. of Regents, 343 P.3d 931, 934-38, ¶¶ 8-21 (Ariz. App. 2015).
            3
25            See, e.g., Krieg v. Schwartz, No. CV-13-00710-PHX-DLR, 2015 WL 12669893,
     at *7-8 (D. Ariz. Aug. 19, 2015); Nelson v. Bank of America, No. CV 11-1117-PHX-SRB,
26   2012 WL 12870250, at *4-5 (D. Ariz. Jan. 17, 2012); Stern v. Charles Schwab & Co.,
     Inc., No. CV-09-1229-PHX-DGC, 2010 WL 1250732, at *2-3 (D. Ariz. Mar. 24, 2010);
27   Mendoza-Gauna v. Corr. Corp. of America, No. CV 03-0876-PHX-EHC-MEA, 2007 WL
     9724720, at *2 (D. Ariz. Feb. 23, 2007); Keams v. Tempe Technical Institute, Inc., 993 F.
28   Supp. 714, 720-21 (D. Ariz. 1997).
                                                  2
 1   accelerated the agreement between ICE and CoreCivic to detain immigrants at the South
 2   Texas Residential Family Center in Dilley, Texas.
 3   I.     ELOY DID NOT OWE A DUTY OF CARE.
 4          Plaintiff’s duty theory is grounded solely in a special relationship arising either out
 5   of contract (§ 324A) or the common law (§ 314A). She does not argue that public policy
 6   imposes a duty, nor does she go through the public-policy analysis. See Quiroz, 416 P.3d
 7   at 830, ¶ 17 (holding that a duty based on public policy must satisfy the Bloxham factors);
 8   see also Bloxham v. Glock Inc., 53 P.3d 196, 200-01, ¶¶ 9-12 (Ariz. App. 2002) (setting
 9   forth public-policy factors). Therefore, she has waived any other duty basis. See Guerra,
10   348 P.3d at 428, ¶ 25 (refusing to address duty theories not raised by the plaintiff).
11          A.     Section 324A Does Not Apply.
12          Section 324A provides:
13                 One who undertakes, gratuitously or for consideration, to
                   render services to another which he should recognize as
14                 necessary for the protection of a third person or his things, is
                   subject to liability to the third person for physical harm
15                 resulting from his failure to exercise reasonable care to protect
                   his undertaking, if
16
                       (a) his failure to exercise reasonable care increases the risk
17                         of such harm, or
18                     (b) he has undertaken to perform a duty owed by the other
                           to the third person, or
19
                       (c) the harm is suffered because of reliance of the other or
20                         the third person upon the undertaking.
21   Restatement (Second) of Torts § 324A (1965) (emphasis added). Plaintiff argues that
22   Eloy is “the quintessential actor covered by § 324A” because it “undertook to render and
23   supervise the rendition of services” required by the IGSA. (Dkt. 14 at 8:4-5.) However,
24   she does not identify which Subsection—(a), (b), or (c)—she relies on. 4 That in itself is a
25   failure to establish a duty of care, a burden which she bears.
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27          4
              Subsection (a) is incompatible with Arizona law because it turns on the
28   foreseeability of harm. See Quiroz, 416 P.3d at 828, ¶ 8.
                                                   3
 1          Nonetheless, § 324A supports the existence of a duty only if the defendant agreed
 2   to perform a service. See, e.g., Stanley v. McCarver, 92 P.3d 849, 854, ¶ 15 (Ariz. 2004)
 3   (defendant-doctor undertook to read plaintiff’s x-ray and render an opinion); Papastathis
 4   v. Beall, 723 P.2d 97, 100 (Ariz. App. 1986) (defendant agreed to inspect, endorse, and
 5   recommend faulty dispenser rack). Arizona courts have consistently held, however, that
 6   § 324A does not apply if the defendant never actually agreed to perform a service. 5
 7   Although Plaintiff states many times in her Opposition that Eloy agreed to retain
 8   supervisory responsibility for the operation of the facility, 6 the contractual documents—
 9   which Plaintiff tacitly agrees can be considered in conjunction with Eloy’s Motion to
10   Dismiss—belie that suggestion and control the inquiry. See Sprewell v. Golden State
11   Warriors, 266 F.3d 979, 988 (9th Cir. 2001) (“The court need not, however, accept as true
12   allegations that contradict matters properly subject to judicial notice or by exhibit.”);
13   Gbelia v. Nationstar Mortgage LLC, CV-15-01799-PHX-DLR, 2016 WL 1072482, at *4
14   (D. Ariz. Mar. 18, 2016) (rejecting complaint allegations that were contradicted by
15   documents properly subject to judicial notice); Snyder v. HSBC Bank, USA, N.A., 913 F.
16   Supp. 2d 755, 776 (D. Ariz. 2012) (rejecting complaint allegations that were contradicted
17   by exhibits attached to the complaint).
18          As discussed at length in Eloy’s Motion, nothing in the IGSA or Modified IGSA
19   required Eloy to perform any service, nor did Eloy undertake to perform any service. (See
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               See, e.g., Holcomb v. Am. Valet Med. Transp. LLC, No. 1 CA-CV 16-0406, 2018
21   WL 1630689, at *3, ¶ 14 (Ariz. App. Apr. 5, 2018), review denied (Oct. 30, 2018); Koss
     Corp. v. Am. Exp. Co., 309 P.3d 898, 917, ¶ 66 n.29 (Ariz. App. 2013); Wickham v.
22   Hopkins, 250 P.3d 245, 250, ¶ 21 (Ariz. App. 2011); Luce v. State Title Agency, Inc., 950
     P.2d 159, 163 (Ariz. App. 1997); Tollenaar v. Chino Valley Sch. Dist., 945 P.2d 1310,
23   1312 (Ariz. App. 1997); Easter v. Percy, 810 P.2d 1053, 1056 (Ariz. App. 1991); Daggett
     v. Cty. of Maricopa, 770 P.2d 384, 390 (Ariz. App. 1989).
24           6
               See, e.g., Dkt. 14 at 2:19-21 [“Eloy contracted to protect and care for the
25   vulnerable families and children involuntarily confined in its facility.”]; id. at 2:26 [Eloy
     “agreed to house and protect” detainees]; id. at 3:25-26 [Eloy and ICE modified the IGSA
26   “to make Eloy responsible for the construction and operation of the new Dilley detention
     facility”]; id. at 4:10 [the IGSA “explicitly imposed responsibility on Eloy for the
27   supervision of the Dilley facility”]; id. at 7:1-2 [“Eloy promised in writing to provide for
     “the day-to-day operation of the Facility”]; id. at 8:21-22 [“Eloy had the contractual
28   obligation and authority to ensure that the Dilley facility met these standards.”].
                                                  4
 1   Dkt. 11 at 2, Section I.A, citing Exhibit 1; id. at 4-7, Section I.C, citing Exhibit 5.) All
 2   services were to be performed either by ICE (provision of healthcare) or the Service
 3   Provider (operations). (Id.) CoreCivic, not Eloy, was the Service Provider and
 4   “responsible for the day-to-day operation of the facility.” (Dkt. 11, Section I.B, citing
 5   Exhibit 3, § 3 & Exhibit 4 at 14; id. at 8, Section I.E, citing Exhibit 8, § 3 & Exhibit 5 at
 6   1; Dkt. 11-3 at 33, App’x A, § I.) And ICE, not Eloy, was responsible for ensuring that
 7   CoreCivic complied with the IGSA. (Dkt. 11, Section I.C.4, citing Exhibit 5.4, App’x A,
 8   §§ 1, 4, 5, 7.)
 9          In the Complaint (at ¶ 40) and again in the Opposition (at 4:13), Plaintiff inserts
10   “[Eloy]” after the words “Service Provider” when quoting the Modified IGSA’s Quality
11   Assurance Surveillance Plan to suggest that Eloy was the Service Provider. But the IGSA
12   itself does not identify Eloy as the “Service Provider.” (Dkt. 11-3 at 33.) Eloy is the
13   “Contractor” or “Offeror.” (Dkt. 11-3 at 2-8.) The Service Provider is the “entity, which
14   provides the services described in” the Performance Work Statement. (Id., at 10, § 3.)
15   And CoreCivic is responsible for “provid[ing] services in compliance with the applicable
16   terms of the IGA.” (Dkt. 11-6 at 9, § 3.)
17          Citing page 1 of the Performance Work Statement, Plaintiff also asserts that the
18   Modified IGSA identifies “Eloy as the ‘Service Provider/Contractor,’” and “obligated
19   Eloy to provide services directly ‘to alien family groups who have been approved for such
20   services by ICE.” (Dkt. 14 at 8:9-15, emphasis in original.) But nothing in the
21   Performance Work Statement designated Eloy as the “Service Provider/Contractor” or the
22   “Service Contractor.” And it states only that the “project goal is the provision of a State-
23   licensed residential care center that provides other related services twenty-four (24) hours
24   per day, seven (7) days per week, to alien family groups who have been approved for such
25   services by ICE,” and further states that it is the responsibility of the “Service Provider” to
26   “seek licensing from the State agency.” (Dkt. 11-3 at 10.) Nothing in the IGSA, the
27   Modified IGSA, the Agreement, or the Amended Agreement reflects an undertaking by
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                                                   5
 1   Eloy to perform any services at the South Texas Family Residential Center. Therefore,
 2   § 324A cannot impose a duty of care on Eloy.
 3          B.     Section 314A Does Not Apply.
 4          Section 314A(4) provides:
 5                 One who is required by law to take or who voluntarily takes
                   the custody of another under circumstances such as to deprive
 6                 the other of his normal opportunities for protection is under a
                   similar duty to the other [to protect them against unreasonable
 7                 risk of physical harm].
 8   Restatement (Second) of Torts § 314A(4) (1965) (emphasis added). As an initial matter,
 9   § 314A(4) expressly turns on the foreseeability of harm (“unreasonable risk of harm”),
10   which is inconsistent with Arizona law and therefore cannot be relied on to support a duty
11   of care. See Quiroz, 416 P.3d at 828, ¶ 8 (“A duty based on foreseeability exists when a
12   defendant realizes or should realize that his conduct creates an unreasonable risk of harm
13   to a foreseeable plaintiff.”) (internal quotation marks and citation omitted); id. at 834, ¶ 41
14   (rejecting Restatement Sections that rely on foreseeability because they are inconsistent
15   with current Arizona law); Gipson v. Kasey, 150 P.3d 228, 231, ¶ 15 (Ariz. 2007)
16   (“[F]oreseeability is not a factor to be considered by courts when making determinations
17   of duty, and we reject any contrary suggestion in prior opinions.”).
18          Moreover, as the plain language of § 314A and the cases Plaintiff cites confirm,
19   this Section applies only when defendant has physical custody of the plaintiff.            See
20   Fleming v. State Dep’t of Pub. Safety, 352 P.3d 446, 447, ¶ 3 (Ariz. 2015) (police officer
21   arrested suspect and placed her in back seat of his patrol car); Calnimptewa v. Flagstaff
22   Police Dept., 30 P.3d 634, 635, ¶¶ 3-4 (Ariz. App. 2001) (same). It does not apply if the
23   plaintiff was not in the defendant’s physical custody. See Vasquez v. State, 206 P.3d 753,
24   761, ¶ 26 (Ariz. App. 2008) (holding § 314A(4) inapplicable where suspect “never was
25   apprehended or taken into custody); see also Rollins v. Wackenhut Services, Inc., 703 F.3d
26   122, 127 (D.C. Cir. 2012) (holding that § 314A did not impose duty of care on private
27   company contracted to provide security for federal government, where private company
28   did not have physical custody of plaintiff).
                                                    6
 1          It is undisputed that Eloy never had physical custody of Plaintiff or M.J. They
 2   were in the legal custody of ICE and detained at the South Texas Family Residential
 3   Center, which is owned and operated by CoreCivic. Although Plaintiff relies on § 314A,
 4   she does not point to any plausible allegation that supports this theory, nor does she make
 5   any affirmative argument in her Opposition. (Dkt. 14 at 8:23-9:16.) Citing Coffey v.
 6   United States, 870 F. Supp. 2d 1202 (D.N.M. 2012), Plaintiff asserts that “[c]ourts in
 7   other jurisdictions have likewise relied on § 314A to find a duty of care … in
 8   circumstances similar to those at issue here.” (Id. at 9:12-17.) Coffey is inapposite for
 9   two reasons. First, unlike Arizona, New Mexico allows foreseeability into the duty
10   equation. Coffey, 870 F. Supp. 2d at 1225. Second, the district court in Coffey imposed a
11   duty on the Bureau of Indian Affairs (“BIA”) because it retained legal custody of the
12   decedent even though he was detained at a county-owned facility pursuant to a contract
13   between the BIA and the county. Id. at 1210, 1238. Eloy did not have legal custody of
14   Plaintiff or M.J. They were always in the legal custody of the federal government. (Dkt.
15   1, ¶¶ 6, 10.) Therefore, § 314A cannot impose a duty of care on Eloy. 7
16   II.    PLAINTIFF’S NEGLIGENT-TRAINING CLAIM IS BARRED FOR
            FAILURE TO COMPLY WITH A.R.S. § 12-821.01 AND FAILURE TO
17          STATE A CLAIM.
18          A.     Plaintiff’s Notice of Claim Was Deficient.
19          Plaintiff concedes that her Notice of Claim did not discuss negligent training in
20   specific terms. But, citing Mitchell v. City of Flagstaff, CV 11-8140-PCT-FJM, 2011 WL
21   5826014 (D. Ariz. Nov. 18, 2011), and Fuciarelli v. Good, CV-14-01078-PHX-GMS,
22   2015 WL 363941 (D. Ariz. Jan. 27, 2015), she argues that allegations in a notice of claim
23   are sufficient if it allows the public entity “to anticipate the claim.” (Dkt. 14 at 12-14.)
24   Those cases are distinguishable. In Mitchell and Fuciarelli, the Cities of Flagstaff and
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               Section II.E in Plaintiff’s Opposition argues that any duty of care is non-
26   delegable. (Dkt. 14 at 9-11.) Because that argument assumes a duty exists and, as just
     discussed, Eloy did not have a duty, this argument is moot. Rios v. Niagara Mach. & Tool
27   Works, 299 N.E.2d 86, 93 (Ill. App. 1973), aff’d, 319 N.E.2d 232 (Ill. 1974). Eloy
     preserves its challenge to Plaintiff’s non-delegable argument, if necessary, for a future
28   dispositive motion.
                                                  7
 1   Scottsdale were sued, along with their police officer-employees, for injuries that the police
 2   officers had allegedly caused. Mitchell, 2011 WL 5826014, at *3; Fuciarelli, 2015 WL
 3   363941, at *2. The notices provided a detailed account of the employees’ allegedly
 4   negligent conduct. Id. Thus, it reasonably put the Cities on notice that their employees’
 5   alleged negligence was attributed to them, not only vicariously but also directly for lack of
 6   training or supervision. Id.
 7          In this case, Plaintiff did not sue any Eloy employee, nor did the Notice of Claim
 8   attribute any fault or conduct to a specific Eloy employee.            (Dkt. 11-6 at 17-26.)
 9   Although the Notice did say that Eloy “had a duty to prevent its employees or independent
10   contractors from causing physical harm to a third party” (id. at 25), that is a legal
11   conclusion. There are no allegations in the Notice that suggest, much less support, a claim
12   against any Eloy employee on which to predicate either vicarious liability or direct
13   liability (negligent training or supervision). Moreover, that assertion is made under a
14   heading that narrowed the legal theory to “Negligent Supervision.” (Id.) Thus, Plaintiff
15   expressly limited any cause of action to that claim. Permitting Plaintiff to expand her
16   claim after-the-fact frustrates the purpose of the notice-of-claim statute: “to allow the
17   public entity to investigate and assess liability, to permit the possibility of settlement prior
18   to litigation, and to assist the public entity in financial planning and budgeting.” Falcon
19   ex rel. Sandoval v. Maricopa Cty., 144 P.3d 1254, 1256, ¶ 9 (Ariz. 2006) (citation
20   omitted). A public entity cannot assess liability or consider settlement if a claimant is
21   playing a shell game and holding allegations back. Plaintiff’s negligent-training claim
22   should be barred as a matter of law.
23          B.     Plaintiff’s Complaint Fails to State a Negligent-Training Claim.
24          Here, again, Plaintiff does not point to any allegation in the Complaint explaining
25   who Eloy failed to train, what training they did not receive, or how the deficient training
26   caused M.J.’s death. Instead, she points to general allegations that Eloy had a duty to
27   supervise the facility, failed to ensure safe and sanitary conditions and adequate medical
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                                                    8
 1   care, and caused M.J.’s death. (Dkt. 14 at 14:9-15:5.) She argues that these general
 2   allegations “necessarily impl[y] that Eloy provided no training.” (Id. at 14:28-15:1.)
 3             But facts that are “merely consistent with a defendant’s liability” are not good
 4   enough. Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009). Neither are implications. See
 5   McKnight v. Seattle Office of Civil Rights, 317CV00015RCJWGC, 2018 WL 1524439, at
 6   *2 (D. Nev. Mar. 27, 2018) (“[A] plaintiff must not only specify or imply a cognizable
 7   legal theory (Conley review), he must also allege the facts of his case so that the court can
 8   determine whether he has any basis for relief under the legal theory he has specified or
 9   implied, assuming the facts are as he alleges (Twombly–Iqbal review).”) Nothing in
10   Plaintiff’s Complaint allows the Court to draw the reasonable inference that Eloy
11   negligently trained its employees. The Complaint, which Plaintiff stands by, fails to
12   plausibly allege a valid negligent-training claim.
13                                          CONCLUSION
14             For these additional reasons, the Court should dismiss all claims because Plaintiff
15   has failed to establish that Eloy had a duty of care. The Court should also dismiss
16   Plaintiff’s negligent-training claim because it was not raised in the Notice-of-Claim and
17   otherwise lacks adequate factual allegations in the Complaint.
18             DATED this 20th day of May, 2019.
19                                                STRUCK LOVE BOJANOWSKI & ACEDO, PLC
20
                                                  By /s/ Nicholas D. Acedo
21                                                   Daniel P. Struck
                                                     Nicholas D. Acedo
22                                                   Ashlee B. Hesman
                                                     3100 West Ray Road, Suite 300
23                                                   Chandler, Arizona 85226

24                                                      Attorneys for Defendant City of Eloy

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 1                               CERTIFICATE OF SERVICE
 2         I hereby certify that on May 20, 2019, I electronically transmitted the attached

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 5                David B. Rosenbaum
                  Hayleigh S. Crawford
 6                OSBORN MALEDON, P.A.
                  2929 North Central Avenue, 21st Floor
 7                Phoenix, Arizona 85012-2793
                  drosenbaum@omlaw.com
 8                hcrawford@omlaw.com
 9                R. Stanton Jones, Admitted pro hac vice
                  Robert N. Weiner, Admitted pro hac vice
10                Sally L. Pei, Admitted pro hac vice
                  Daniel F. Jacobson, Admitted pro hac vice
11                ARNOLD & PORTER KAYE SCHOLER LLP
                  601 Massachusetts Ave. NW
12                Washington, DC 20001
                  stanton.jones@arnoldporter.com
13                robert.weiner@arnoldporter.com
                  sally.pei@arnoldporter.com
14                daniel.jacobson@arnoldporter.com
15                Attorneys for Plaintiff
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